0 oN ND UN & WwW LB =

NB DH NHN BR KN HN DN HN Room et
“eo tN ON SP WH NO = S&F OO Or HR UN SB W NY = SO

 

 

Case 3:19-mj-05209-JRC Document1. Filed 10/15/19 Page 1 of 6

 

The Honorable J. Richard Creatura
FILED LODGED
RECEIVED

OCT 1§ 2019

CLERK U.S. DISTRICT
WESTERN DISTRICT OF WASHINGTON ar TACOMA

# DEPUTY

 

 

 

 

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, No. VIF 19 ~ SI04
Plaintiff, -
y COMPLAINT FOR VIOLATION
18 US.C. §§ 922(g\(1) and 924(a)(2)
HUSHAM ZEYAD AL-ANI,
Defendant.

 

BEFORE the Honorable J. Richard Creatura, United States Magistrate Judge,

United States Courthouse, Tacoma, Washington.
COUNT 1
(Felon in Possession of a Firearm)

On or about October 11, 2019, in Vancouver and elsewhere within the Western
District of Washington, HUSHAM ZEYAD AL-ANI, knowing he had previously been
convicted of crimes punishable by imprisonment for a term exceeding one year, to wit:

| a. Possession of a Controlled Substance with Intent to Deliver - Heroin and
Unlawful Possession of a Firearm in the Second Degree, Clark County
Superior Court cause number 12-1-01173-7, dated March 19, 2014;
b. Burglary in the First Degree and Felon in Possession of a Firearm,
Multnomah County Circuit Court cause number 16CR60410, dated April

10, 2017; _
United States v. Al-Ani UNITED STATES ATTORNEY

‘ 1201 PACIFIC AVENUE, SUITE 700
USAO #2019R01018/Complaint - 1 TACOMA, WASHINGTON 98402

(253) 428-3800

 

 
Oo Pe nN HD NH F&F WD NHN =

NO NH NHN ND NH ND HR RN DR itt et
on NN ON BR WD NY = © © COC NI HD UN B WO YH = C©

 

 

Case 3:19-mj-05209-JRC Document1 Filed 10/15/19 Page 2 of 6

did knowingly possess a firearm, to wit: a Chinese manufactured AK-47S, 7.62 caliber
rifle, bearing serial number CGA2432, and a Zastava, model M90, 7.62 caliber rifle,
bearing serial number 007767, which had been previously shipped and transported in
interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 922(g)(1) and 924(a)(2).

The undersigned complainant, being duly sworn, hereby deposes and says as
follows: .

TRAINING AND EXPERIENCE
1. I, Benjamin Ziesemer, am currently a Special Agent (SA) with the Bureau

 

of Alcohol, Tobacco, Firearms, and Explosives (ATF) assigned to the Portland Field
Office. I have been a Special Agent for over 18 years. I am a graduate of the Criminal
Investigator Training Program at the Federal Law Enforcement Training Center in
Glynco, Georgia, as well as a graduate of the New Professional Training Program at the
ATF National Academy in Glynco, Georgia. As a Special Agent with ATF, my duties
and responsibilities have included conducting criminal investigations for possible
violations of federal firearms laws. I am also a law enforcement officer of the United
States within the meaning of 18 U.S.C. § 25 10(7), and I am authorized by law to conduct
investigations and to make arrests for felony offenses.

2. The facts set forth in this Complaint are based on my own personal
knowledge; knowledge obtained from other individuals, including other law enforcement
officers, during my participation in this investigation; review of documents and records
related to this investigation; communications with others who have personal knowledge
of the events and circumstances described herein; and information gained through my
training and experience. This Complaint does not purport to state every fact known to
law enforcement, but rather only to establish probable cause to conclude that HUSHAM
ZEYAD AL-ANI committed the charge set forth above.

3. This Complaint is being presented by electronic means, while I am in

Vancouver, Washington, pursuant to Local Criminal Rule CrR 41(d)(3).
United States v. Al-Ani UNITED STATES ATTORNEY

1201 PACIFIC AVENUE, SUITE 700
USAO #2019R01018/Complaint - 2 TACOMA, WASHINGTON 98402

(253) 428-3800

 
oO eo 4 HD A F&F KW NY =

NY NY HN NH NY NH NN DN HN we meet
aon NN PF WN KH SF OO NH HA BP WN = OO

 

 

Case 3:19-mj-05209-JRC Document1 Filed 10/15/19 Page 3 of 6

PURPOSE OF AFFIDAVIT

4. This Affidavit is made in support of a Complaint against HUSHAM
ZEYAD AL-ANI for the crime of Felon in Possession of a Firearm, in violation of Title
18, United States Code, Sections 922(g)(1) and 924(a)(2).

INVESTIGATION AND PROBABLE CAUSE

5. In early October 2019, I received information from the Vancouver Police
Department (VPD) that HUSHAM ZEYAD AL-ANI, a convicted felon, was interested in
obtaining firearms. I am familiar with HUSHAM ZEYAD AL-ANI from a previous
investigation and know he goes by the nickname “Ash.” A VPD confidential source

 

provided the phone number of an ATF Special Agent, who was acting in an undercover
capacity (UCA), to HUSHAM ZEYAD AL-ANI and suggested the UCA may be in
possession of firearms he wished to sell. On October 10, 2019, the UCA received a

phone call from a male who identified himself as “Ash.” “Ash” expressed interest in
purchasing an AK-47 type rifle. The UCA indicated that he had two AK-47 type rifles
for sale and one was Chinese and one was Yugoslavian. “Ash” expressed interest in only
the Yugoslavian rifle and wanted to meet the UCA that evening to purchase the rifle. —
The UCA indicated that he was not available that night and it was decided that they
would meet the following day and “Ash” would purchase the Yugoslavian type AK-47
rifle for $400. The UCA recorded the phone calls arranging the transaction.

6. On October 11, 2019, the UCA and “Ash” had additional recorded phone
conversations and exchanged multiple text messages arranging for the firearms
transaction to occur that afternoon at the Sportsman’s Warehouse, located at 11505 NE
Fourth Plain Road, Vancouver, Washington. During these conversations, “Ash”
indicated that he had the money and he was now interested in both of the AK-47 type
rifles that the UCA had for sale. “Ash” also indicated that he would be driving a white
car to the meeting.

7. Special Agents from ATF, along with members of the Vancouver Police
Department, took part in the planned law enforcement operation on October 11, 2019.

United States v. Al-Ani UNITED STATES ATTORNEY
USAO #2019R01018/Complaint - 3 TAO Waninorenegean

(253) 428-3800

 

 
Oo Oo tN HD NH FF WD HN ow

NO NY NY NHN NH HN NHN KN Dw oe owt hemes
aon DN ON FF WY NY = F&F OO CO ADI A A B&B WO NH —& |

 

 

Case 3:19-mj-05209-JRC Document1 Filed 10/15/19 Page 4 of 6

8. At approximately 3:20 p.m., I observed a white Ford Mustang drive into the
Sportsman’s Warehouse parking lot and park next to the UCA’s undercover vehicle. The
driver of the vehicle, HUSHAM ZEYAD AL-ANI, got out and exchanged greetings with
the UCA. The passenger of the vehicle, later identified as Jack Michels, remained seated
in the vehicle during the meeting. The UCA showed HUSHAM ZEYAD AL-ANI the
ATF-owned firearms utilized in this operation in the back of the UCA’s undercover
vehicle. These firearms are a Chinese manufactured AK-47S, 7.62 caliber rifle, bearing
serial number CGA2432, and a Zastava, model M90, 7.62 caliber rifle, bearing serial
number 007767. HUSHAM ZEYAD AL-ANI handled and inspected the rifles.
HUSHAM ZEYAD AL-ANI offered the UCA $700 for both rifles indicating that was all
the money he had. The UCA accepted the offer and HUSHAM ZEYAD AL-ANI paid
him $700 in cash. HUSHAM ZEYAD AL-ANI took possession of the rifles and the
UCA gave a pre-determined “bust” signal. ATF agents and VPD officers moved in and
took custody of AL-ANI without incident near the back of the UCA’s undercover -
vehicle. Michels was removed from the passenger seat of the Ford Mustang and
detained. Through the open passenger side window of the Mustang, I observed what I
believe to be a Glock pistol tucked into the driver’s side door of the vehicle. The Ford
Mustang was towed to a secure location inside the Vancouver Police Department in
anticipation of the application for a search warrant for the vehicle.

9. Upon his arrest, HUSHAM ZEYAD AL-ANI was searched. The search
yielded a wallet containing multiple forms of photo identification for HU SHAM ZEYAD
AL-ANI, including his Oregon Department of Corrections Inmate Identification Card as
well as $3520 in cash. During the search of HUSHAM ZEYAD AL-ANI, ATF Special
Agent Jacobs asked if there was anything that would hurt him while searching AL-ANI.
AL-ANI indicated that there was nothing dangerous but Special Agent Jacobs would find
a baggie of meth and a baggie of heroin in his jacket pocket. The substances in the

baggies field-tested positive for the presence of methamphetamine and heroin,

respectively.
United States v. Al-Ani UNITED STATES ATTORNEY
USAO #2019R01018/Complaint - 4 1201 PACIFIC AVENUE, SUITE 700

TACOMA, WASHINGTON 98402
(253) 428-3800

 
C2 OoN DH HW AR WwW DY =

NHN NH ND ND ND ow wwe
SXRFRRBRBRBSCSEARKSBRDEBEHEAOS

 

 

Case 3:19-mj-05209-JRC Document1 Filed 10/15/19 Page 5 of 6

10. ATF Special Agent Weber, a firearms and ammunition interstate nexus
expert, has examined the above-referenced Chinese manufactured AK-47S and Zastava
model M90, 7.62 caliber rifles, and determined they were manufactured outside the State
of Washington and therefore had traveled in interstate or foreign commerce prior to being
found in Washington on October 11, 2019.

11. [have reviewed a number of conviction documents from courts in Oregon,
Washington and California pertaining to HUSHAM ZEYAD AL-ANI. He has a number
of convictions for crimes punishable by over one year, including:

a. Possession of a Controlled Substance with Intent to Deliver - Heroin
and Unlawful Possession of a Firearm in the Second Degree, Clark County Superior
Court cause number 12-1-01173-7, dated March 19, 2014:

b. Burglary in the First Degree and Felon in Possession of a Firearm,
Multnomah County Circuit Court cause number 16CR60410, dated April 10, 2017.

12. For each of these convictions, I observed that HUSHAM ZEYAD AL-ANI
was sentenced to serve a term of imprisonment of more than 12 months.' The Oregon
conviction documents list the defendant’s full name as HUSHAM ZEYAD-TAREQ AL-
ANI. The Clark County Superior Court Judgment, cause number 12-1-01173-7, was
charged as HUSAM ZEYED AL-ANI, but the Statement of Defendant on Plea of Guilty
reflects that the defendant corrected the case caption by inserting the missing “H” and
further indicating that his “true name” is “HUSHAM ZEYAD AL-ANI.” The related
case documents show he was present at the sentencing hearing, and that he affixed his
signature and fingerprints to the Judgment. Finally, in that case, HUSHAM ZEYAD AL-
ANI signed a document acknowledging that he had been notified orally and in writing
that he “may not own or possess firearms.” That document is included in the court record
for the conviction. Both courts list the same 1989 date of birth for AL-ANI.

 

' He was sentenced to 12 months on the Clark County UPOF, but it was concurrent with a 20-
month sentence on the PWID Heroin count in the same Judgment.

United States v. Al-Ani UNITED STATES ATTORNEY:
USAO #2019R01018/Complaint - 5 Ana WASENOToNO8«02

(253) 428-3800

 
 

Oo Pe NDA OA & W NHN —

NM NW NH NY WH NH YN YN HN we wr et et
on OO UN SF WH NY K&S! CO 0 WAN HN A F&F WH NO ww S&S

 

 

Case 3:19-mj-05209-JRC Document1 Filed 10/15/19 Page 6 of 6

CONCLUSION
13. Based on the foregoing facts, I respectfully submit there is probable cause
to believe that HUSHAM ZEYAD AL-ANI committed the crime of Felon in Possession
of a Firearm in violation of Title 18, United States Code, Sections 922(g)(1) and
924(a)(2).

 

 

-

BENIAYM ZIESEMER, Special Agen
Bureau Of Alcohol, Tobacco, Firearms,
and Explosives

The above-named agent provided a sworn statement attesting to the truth of the
contents of the foregoing Affidavit on October 15, 2019, and based on the sworn
Complaint and Affidavit, the Court hereby finds that there is probable cause to believe
HUSHAM ZEYAD AL-ANI committed the offense set forth in the Complaint.

Dated this ,~ day of October, 2019.

Ly Liat

 

HONORABLE J. RICHARD CREATURA

nited States Magistrate Judge

United States v. Al-Ani UNITED STATES ATTORNEY
: ‘ACIFIC AVENUE, SUITE

USAO #2019R01018/Complaint - 6 TACOMA, WAS % 98462

(253) 428-3800

 
